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 May 24, 2024

 VIA CM/ECF

 Mr. David Tighe
 Clerk of the Court
 United States Court of Appeals for the Tenth Circuit
 Byron White Courthouse
 1823 Stout Street
 Denver, Colorado 80257

 Re: Notice of Supplemental Authority Under Rule 28(j) for Werfel, et al. v. The Palestine
     Liberation Organization, et al., Nos: 23-1286 & 23-1335.


 Dear Mr. Tighe:

 I enclose the recent order denying rehearing en banc in Fuld v. PLO, No. 22-76 (L) (2d Cir. 2024)
 and Waldman v. PLO, No. 15-3135 (L) (2d Cir. 2024), as supplemental authority under Rule 28(j).
 Both Fuld and Waldman were cited extensively in Defendants’ brief (at 1, 4, 7, 13, 15-16, 29-30,
 37, 41, 45-48).

 In this order, the Second Circuit adhered to its prior decision that the PSJVTA violates due process.
 In an opinion concurring in the denial of rehearing en banc, and addressing a dissent to that denial,
 Judge Bianco reiterated the panel’s conclusions that (i) none of the conduct alleged by the plaintiffs
 under the PSJVTA provides a valid basis for finding that the PA and PLO consented to personal
 jurisdiction in a federal court; (ii) the PSJVTA does not provide any “benefit” to the PA and PLO
 in exchange for their purported “consent”; and (iii) every circuit to address the issue has agreed
 that the standard for due process under the Fifth Amendment mirrors that of the Fourteenth
 Amendment.

 Respectfully submitted,

 Squire Patton Boggs (US) LLP

 Gassan A. Baloul

 cc:        All Counsel of Record via CM/ECF

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